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 8                                  UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        Case No. 2:08-CR-093-KJM
                                                               2:08-CR-116 KJM
12                     Plaintiff,
13          v.
                                                      ORDER
14   CHARLES HEAD,
15                     Defendant.
16

17                  In December 2013, a jury convicted defendant Charles Head of multiple counts of

18   mail fraud and conspiracy to commit mail fraud in two related criminal cases. See Case Nos.

19   2:08-cr-093-KJM (Head I), and 2:08-cr-116-KJM (Head II). He was sentenced in both cases on

20   September 3, 2014, to a total term of 420 months imprisonment, which he is now serving. Head

21   I, ECF No. 977; Head II, ECF No. 581. The court also ordered $9,534,240.21 and $7,563,710.26

22   in restitution respectively, with installment payments to begin immediately through the Bureau of

23   Prisons (“BOP”) Inmate Financial Responsibility Program. Head I, ECF No. 1191 at 6; Head II,

24   ECF No. 653 at 7. Now, years later, defendant filed a handwritten request to “either reduce the

25   monthly [restitution] payments or allow payments to be deferred until [his] release from prison.”

26   Head I, ECF No. 1567, Head II, ECF No. 840 (“Mot.”). The government opposes. Head I, ECF

27   No. 1569, Head II, ECF No. 841 (“Opp’n”). Defendant filed a reply. Head I, ECF No. 1573,

28   Head II, ECF No. 842 (“Reply”). As explained below, the court DENIES Head’s request.
                                                     1
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 1           I.   DISCUSSION
 2                    Defendant does not challenge the sum of restitution he owes. Reply at 1
 3   (conceding “The government is absolutely correct” that defendant “stipulated to the restitution
 4   amounts” and waived his ability to challenge this sum). Rather, he seeks to reduce or defer his
 5   agreed-upon installment payments because “these payments are being made by [his] retired
 6   parents who are making additional payments for [his] brother, Jeremy Head, a co-defendant [in]
 7   one of these cases.” Mot. at 2.
 8                    The record does not support defendant’s representation that his retired parents are
 9   paying his restitution, as his request is not verified. Moreover, the court ordered defendant
10   himself to make payments through the BOP while incarcerated, and the government has filed
11   proof that defendant is making payments of $30 per quarter. Gov’t Ex. 2, ECF No. 841-2
12   (defendant’s Inmate Financial Plan contract listing installment agreement); see also Head I, ECF
13   No. 1191 at 6 & Head II, ECF No. 653 at 7 (ordering restitution payments through this BOP
14   program).
15                    Defendant raises no valid basis to reduce or defer his payments. Restitution is
16   designed to protect victims from underpayment. See 18 U.S.C. § 3613(c) (a restitution order “is a
17   lien in favor of the United States on all property and rights to property of the person”). A
18   defendant should make the full restitution payment “immediately, unless, in the interest of justice
19   the court provides for a payment . . . in installments.” Id. § 3572(d)(1). If a schedule of payments
20   is ordered, that schedule “shall be the shortest time in which full payment can reasonably be
21   made.” Id. § 3572(d)(2). The court may, in its discretion, alter the agreed-upon payment
22   schedule if defendant experiences a material change in economic circumstances. Id. § 3664(k).
23   Here, defendant has neither identified nor supported a material change in his financial
24   circumstances.
25   /////
26   /////
27   ////
28   ////
                                                       2
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 1      II.   CONCLUSION
 2               For the reasons explained above, the court DENIES defendant’s request.
 3               IT IS SO ORDERED.
 4               This resolves Head I, ECF No. 1567 and Head II, ECF No. 840.
 5   DATED: April 11, 2018.
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 7                                            UNITED STATES DISTRICT JUDGE
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